Case 2:08-md-02002-GEKP Document 823-3 Filed 05/29/13 Page 1 of 7

EXHIBIT A

EXHIBIT A

008|1_6]350/5287562\1

Case 2:08-md-02002-GEKP Document 823-3 Filed 05/29/13 Page 2 of 7

UNITED STATES DISTRICT COURT
EASTERN DISTRIC'I` OF PENNSYLVANIA

IN RE: PROCESSED EGG PR()DUCTS
ANTITRUST LITIGATION

MDL No. 2002
08-md-02002

THIS DOCUMENT RELATES TO:
All Direct Purchaser Actions

CO'JQ€DOO'JCO'J¢HJ@CO'§OOOGOO

AFFIDAVIT OF JENNIFER l\/I. KEOUGH

RE: MOARK SE'I`TLEMENT CLAIMS ADMINIS'I`RATION

STATE OF WASHINGTON
Ss.
COUNTY OF KING

GMWDW'J

I, .lennifer l\/l. Keough, being duly Sworn, state as follows:

l. l am the Chief Operating Officer of The Garden City Group, Inc. (“GCG”), the
Court-approved claims administration entity for the above-captioned litigation The following
statements are based upon my personal knowledge and information provided by other GCG
employees working under my supervision, and, if called on to do So, l could and would testify
competently thereto.

2. GCG provides this Aftidavit to assist Interirn Co-Lead Counsel in explaining the
work it performed in the Moark settlement administrationl

3. As used herein and in the A|location Order, the th Settlement Fund is defined as

the amount of Moark settlement funds expected to remain available for distribution after (i) the

0081].61380/528'."562.|

Case 2:08-md-02002-GEKP Document 823-3 Filed 05/29/13 Page 3 of 7

payment of any attorneys’ fees ($7.5 million) and expenses ($487,720.30) as requested by Direct
Purchaser Plaintiffs in their Supplement to Motion for an Award of Attorneys’ Fees and
Expenses (but only if authorized by the Court), and (ii) the payment of $350,000.00 in notice
costs.

4. Under the Allocation Order, the Net Settlement Fund was allocated between the
Shell Egg SubClaSs and the Egg Products SubClass. The value of the Net Settlement Fund was
316,662,279.70.

5. The Shell Egg SubClass was allocated two-thirds of the Net Settlement Fund, and
the Egg Products SubClass was allocated one»third of the Net Settlement Fund (“Individual
Settlement Fund(s)”).

6. The distribution between these two Settlement SubClasses reflects the
approximate percentage of claims filed for each SubClass.

7. Each Authorized Claimant was then entitled to a payment from the lndividual
Settlement Fund(s) for which they are eligible in the amount of approximately 0.059 percent (0.
059%) of the total of their actual purchase price of each Settlement Product, or a total sum of
$25.00, whichever was greater.

8. GCG calculated the approximate percentage of actual purchase price to be paid
based on the Net Settlement Fund. ln addition, GCG calculated this approximate percentage to
ensure that the Net Settlement Fund would not be exhausted before each Authorized Clairnant
was paid. That percentage only changed if the required expenses differed from those anticipated
by GCG, or one or more claims are subsequently denied or the amount of claims were adjusted
following resolution of disputes over the payment amounts, if any. Any change to this

percentage was applied equally to all Authorized Claimants.

008ll.61380/5287562`l 2

Case 2:08-md-02002-GEKP Document 823-3 Filed 05/29/13 Page 4 of 7

9. With the Court’s approval, a 325.00 base payment was authorized for Authorized
Claimants. This approved minimum payment affected only thirty three (33) Authorized
Claimants. Without this minimum payment, two of those Authorized Claimants would have
received as little as 30.36 and $O.SS. lnstituting this minimum payment affected the Net
Settlement Fund by a total of 3461.25 (0.0028% of Net Settlement Fund).

lO. ln GCG’s experienceJ low value checks are often misplaced or not cashed. The
reissuance and cancelling of these checks can require a significant amount of administrative
time, thereby increasing administrative costs for the Class. lf funds were to remain unclaimed,
further administration work would need to occur to disburse them, either to the claimants or as
the Court otherwise directed The additional costs associated with having to handle reissues and
disbursement of these funds would certainly be greater than the 3461.25 that the $25.00 base
payment will engender.

ll. The increase to administrative and attorney time may also drain the settlement
proceeds available for distribution to claimants Moreover, the expense associated with sending
payment to claimants with very small claim values can vastly outweigh the value of payment

12. Any funds remaining in the lndividual Settlement Fund(s) for each Settlement
SubClass after these payments are “Excess Amounts.”

13. lf there are Excess Amounts, then the lnitial Authorized Payments for that
Settlement SubClass will be increased by an equal percentage until the individual Settlement
Fund would be exhausted

14. T.hrough this approach, each Authorized Claimant will receive their approximate

pro rata share of the entire settlement proceeds available for distribution

0081 1\61380/523756241 3

Case 2:08-md-02002-GEKP Document 823-3 Filed 05/29/13 Page 5 of 7

15. Within 20 days of the issuance of the Allocation Order, GCG identified and
submitted to lnterim Co-lead Counsel an accounting of the payments to each Authorized
Claimant that GCG intends to pay.

16. Interim Co~lead Counsel then identified any issues or communicated their
agreement with the payments proposed to be made by GCG. lnterim Co-lead Counsel agreed
with the payments proposed to be made by GCG, and GCG then notified each Authorized
Claimant of the proposed payments The Authorized Claimants had 30 days to object to the
proposed payment, until February 8, 2013.

17. Twelve letters were returned undeliverable with change of address information
and were remailed with a new 30-day deadline The last objection deadline was l\/larch l 1, 2013.

18. Plaintiffs then made an additional determination of eligibility that resulted in a
distribution differing by a maximum of 2.96% from the amounts previously noticed, excepting
those claims adjusted upward to reflect the new determination of eligibility

19. GCG has performed the above work in accordance with the terms and provisions
of the Notice and the Notice Plan and is prepared to distribute the Net Settlement Funds to
Authorized Claimants. GCG will be mailing checks to 693 Authorized Claimants in amounts
ranging from approximately $l .3 million to the $25.00 minimum approved by the Court.

20. ln the fulfillment of its obligations, GCG has incurred fees and costs in the
amount of $202,171.87 in relation to the Sparboe Settlement and $407,870.90 in relation to the
Moark Settlement This includes summary notice publication costs in the amount of
323 8,452.00. GCG previously received payment relating to the l\/loark Settlement in the amount
of $l'/'3,047.90. The remaining $234,823.00 in fees and costs associated with claims

administration of the l\/Ioark Settlement remains outstanding GCG has received no payment to

00811\61330/5237562.1 4

Case 2:08-md-02002-GEKP Document 823-3 Filed 05/29/13 Page 6 of 7

date in regards to notice administration of the Sparboe Settlement and the full amount of
$202,171.87 remains outstanding

21. For both the Sparboe Settlement and the l\/[oarl< Settlement, GCG handled all
aspects of the notice administration This included intake and standardization of class member
data files, creation and formatting of notice documents, creation of mail fi]e, dissemination of
mailed notice, summary notice publication media outreach, processing of undeliverable mail,
notice remails, maintenance of class member database, document storage, creation and
maintenance of Settlement website, creation and maintenance of toll-free number, management
of call center, handling of written and verbal class member communications, processing of
exclusions, and reporting to the Parties. Additionally, GCG handled claims validation additional
processing of non-conforming claims, preparation of deficiency letters, preparation of rejection
letters, deficiency response processing, industry research, notice of Plaintiffs’ Fee Petition for the
l\/loark Settlement, and mailing of letters to claimants regarding their approximate settlement
payment

22. Settlement administrative work completed after .luly 201] related exclusively to
the Moark Settlement Between August 2011 and l\/larch 15, 2013, GCG incurred fees and costs
in the amount of $103,057.24 in fulfillment of its obligations This includes fees and expenses
associated with claim validation contact services / handling of class member communication
producer eligibility research, preparation of deficiency letters, database maintenance, preparation
of denial letters, tax reporting, additional processing of non-conforming claims, processing of
class members challengesJ processing of deficiency responses, calculation of class member
payments and reporting to the Court and Parties. GCG estimates fees and costs through project

completion will total $57,764.29. This includes fees and costs for coordinating and handling

008l l.6l380f528'1'562\l 5

Case 2:08-md-02002-GEKP Document 823-3 Filed 05/29/13 Page 7 of 7

distribution post-distribution work, class member communications, tax reporting, project
management, quality assurance, and systems support

23. All costs were reasonably incurred by GCG in the performance of its settlement

administrative dutiesl

24. Accordingly, Plaintiffs move for an Order that approves payment of $234,823.00
out of the l\/loark Settlement Fund to GCG for its fees and expenses incurred in connection with

services performed and to be performed with respect to the administration of the l\/loark

Settlement

\l¢l/l*(l_ l/l/L’ lézwé\/

J'ENNIFE§ M. KEoUGt-t

Swom before me this §?day

of |f\@,f 2013

\ll""'n,,

\ I"
f ' " °Q` `\\\lll.n,Y‘/*é\l'l'
¢` \r .~".`i\$€“°" E’%"», 1
7 ' ~"<?" `°\r'-.
-i M,`u? . `\\OTARY -__

No[rARY UisLlC in aaa tar the state at Ws¢-,\x.m-jt-,a§ ..¢ ~ 4-

. '. . -".:
mann T . 'Vme _ d/»`=,','P?%JB\:§&_:Q §
L,E(,EH¢JC. \`~10_ lgm/J>T ','",y/`€m,u"l%...\%'%\$ \"\
RE£?`leG‘\ lH BWLE ll"/;:;OF wpl`\\\\ \`
Mr' gamma-atari £;<\>\iuaei &aaae\z. lZ., ’2;9\¢[ mm-

008| l .61380:'5287562.1 6

